Case 1:18-cv-05427-JSR Document 321 Filed 12/01/20 Page 1 of 29

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SIMO HOLDINGS INC.

Plaintiff,
CIVIL ACTION NO. 18CV5427 (JSR)

HONG KONG UCLOUDLINK NETWORK
TECHNOLOGY LIMITED, AND ©
UCLOUDLINK (AMERICA), LTD.

Defendants.

DECLARATION OF HUAQIANG WANG REGARDING CERTAIN DOCUMENTS

1, HUAQIANG WANG, declare that the following is true and correct:
1. I am an associate at King & Wood Mallesons, counsel for SIMO Holdings Inc.

(“SIMO”), SIMO’s Chinese subsidiaries, SIBO Technology Co., Ltd. (in Chinese: “RYII TH AS
UR BT RLEY A BR ZF”) (“SIBO”) and Shenzhen Skyroam Technology Co., Ltd. (in Chinese: “GH

YITH ETAL Ae BSA BE ZS Fi”) (“Skyroam”) in the People’s Republic of China. I am familiar with

the facts and circumstances set out herein.
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2. I am registered to practice law in the People’s Republic of China and am licensed
to practice patent and trade secret law in the People’s Republic of China.

3. I understand that SIMO filed a patent infringement lawsuit against Hong Kong
uCloudlink Technology Limited and Ucloudlink (America) Ltd. (uCloudlink) in June 2018 (the
“New York Case”). I further understand that SIMO alleged that uCloudlink’s products, including
the G2, G3, and U2 hotspots infringed SIMO’s United States Patent Nos. 8,116,735, and 9,736,689.

4, In July 2018, Skyroam and SIBO filed a lawsuit in China against certain uCloudlink
entities in China for patent infringement of the Chinese version of the patents asserted in the New
York Case - specifically this is the Patent titled, CN 101971648 (the “’648 Patent”). In that lawsuit,
Skyroam and SIBO alleged that the same uCloudlink products infringed Chinese patents owned
by SIBO. Attached as Exhibit A is a true and correct copy of the Chinese patent infringement
lawsuit. My firm represented Skyroam and SIBO in that lawsuit.

5. In early November 2018, we learned that uCloudlink turned over certain Skyroam
confidential documents to SIMO’s attorneys in the New York Case I understand that upon further
investigation, it was discovered that those documents came from a computer that was used by
Skyroam’s former employee Wang Bin who left Skyroam for a uCloudlink entity in 2013.

6. I understand that uCloudlink turned over additional documents in the New York
litigation including a patent disclosure document that contain Skyroam’s trade secrets and
communications relating to that patent disclosure. I further understand that these documents were
marked “Confidential” by uCloudlink, even though they contain references to Skyroam’s
confidential information that should not have been in uCloudlink’s possession. These documents

are referred to herein as the “uCloudlink confidential documents.”
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Te. Upon further investigation, it was also discovered that certain patents applied for
by uCloudlink entities include Wang Bin as the inventor, and several of these patents include
Skyroam’s trade secrets.

8. As part of the cooperation between the two international law firms of King & Wood
Mallesons and K&L Gates, we wanted to be able to analyze the available materials and discuss
the best approach to the strategies as they relate to our respective representation of SIMO and its
related entities. Specifically, we wanted to coordinate various aspects of the ongoing patent
infringement cases in China and the United States as well as the potential for trade secret cases
that may be filed in China and/or in the United States in connection with the information learned
in the New York Case.

9. In order to better evaluate our options, discuss strategies, and ensure consistency in
our respective approaches, our firm received the protective order that was issued in the New York
case on November 9, 2018, and four attorneys from our firm signed and returned the protective
order several days later, so that we could receive some of the confidential documents that were
produced in the New York Case. I am one of those four attorneys. Attached hereto as Exhibit B
is a true and correct copy of the protective orders signed by myself and my colleagues.

10. I understand that by signing the Protective Order, I am forbidden from using the
documents in any way without explicit confirmation from uCloudlink that such documents do not
contain confidential information belonging to uCloudlink, an order from the Judge in the New
York Case, or in the event of a Court Order or Subpoena requiring me to turn over those documents.
I also understand that any documents that have been filed publicly are no longer confidential, even

if they were marked confidential at one time.
Case 1:18-cv-05427-JSR Document 321 Filed 12/01/20 Page 4 of 29

11. After signing the protective order, I received certain documents from K&L Gates
that were turned over by uCloudlink in the New York case and were marked confidential by
uCloudlink. These include deposition transcripts and video of uCloudlink employees Bin Wang
and Wen Gao. These transcripts and video are included references to “uCloudlink confidential
documents.”

12. _I understand that some of the documents I received were later confirmed by
uCloudlink’s counsel not to contain uCloudlink’s confidential information. These documents
include Skyroam documents that were found on Wang Bin’s computer and turned over to SIMO’s
attorneys in the New York Case. Additionally, the Judge in the New York Case ordered that some
documents are not confidential, such as certain testimony given by Bin Wang.

13. In June 2019, Skyroam filed a lawsuit against Shenzhen uCloudlink New

Technology Co., Ltd. (in Chinese: “QRIITH (i 50 EBT RAGA IR A Fl”), Shenzhen uCloudlink
Network Technology Co., Ltd. (in Chinese: “TRI (it BREE A RAB] ”), Wang Bin (in
Chinese: =k) and Gao Wen (in Chinese: jC) for trade secret misappropriation in Shenzhen

Intermediate Court, China (“the Chinese Lawsuit”). The Chinese Lawsuit concerns the same
technology (i.e., international mobile roaming) and same accused products (GlocalMe E1, U2, G2,
G3 and S1) that I understand were at issue in the New York Litigation. KWM represented Skyroam
in this lawsuit as well. Attached hereto as Exhibit C is a true and accurate copy of the Complaint
in the Chinese Lawsuit.

14. Because of the rules surrounding the protective order, no uCloudlink confidential
documents were included in the filings for this Chinese Lawsuit. The information used to file the
lawsuit was based on publicly available information such as uCloudlink’s patents, and documents

and information disclosed during the trial in the New York Case, and Skyroam’s own confidential
Case 1:18-cv-05427-JSR Document 321 Filed 12/01/20 Page 5 of 29

documents, including those that were found on uCloudlink’s computers and which had been
released by uCloudlink in the New York Case.

15. In our investigation, I also downloaded and received publicly filed documents
related to United States litigation between SIMO and Skyroam-related entities. For example, on
February 26, 2019, we received SIMO and Skyroam’s publicly filed Amended Answer and
Counterclaims filed in February 2019 in the California case. A true and correct copy of the
Amended Complaint is attached here as Exhibit D.

16. Paragraphs 30-33, 115-120 of that the Amended Complaint contain more detailed
information than the complaint in the Chinese Lawsuit. Both complaints refer to the same Chinese
patent. The ’555 Patent referenced in the Amended Complaint is the same as 201510929886.2
referenced in the Chinese Lawsuit. The California Amended Complaint refers to uCloudlink
confidential documents that we seek to use in the Chinese Lawsuit, but the complaint in the
Chinese Lawsuit only refers to the similarities between Skyroam’s internal documents and the
uCloudlink patent containing Skyroam’s trade secrets. The complaint in the Chinese Lawsuit
makes no mention of the uCloudlink confidential documents.

17. I understand that SIMO requested that the New York Judge permit Skyroam to use
uCloudlink confidential documents in the Chinese trade secret case. I also understand that the
judge denied Skyroam’s request, but indicated that Skyroam would be permitted to receive
uCloudlink confidential documents for use if the Chinese Court issued an Order or subpoena for
the documents.

18. Based on the ruling by the New York judge, Skyroam recently requested that the
Chinese Court issue an order requiring that SIMO’s United States counsel provide certain

uCloudlink confidential documents that were turned over in the New York litigation. In that
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request, we used only documents which (1) are publicly available from PACER, (2) contain
Skyroam-only confidential information, or (3) that the Court has declassified; or (4) that
uCloudlink has agreed do not contain uCloudlink confidential material. A true and correct copy
of the index of documents used in Skyroam’s request to the Chinese Court is attached here as
Exhibit E.

19. On November 9th, 2020, the Chinese Court issued an order directing SIMO’s

United States’ attorney, Matt Weldon to provide Zheng Hong (in Chinese: “#8344” ) and Ding
Guangwei (in Chinese: “J 3” ) certain uCloudlink confidential documents that were turned

over in the New York case and which I received after signing the protective order, and which were
the subject of SIMO’s previous request that was denied by the New York Judge. A copy of that
order is attached here as Exhibit F. KWM received the Court’s Order on November 11, 2020.

20. | The reason the Chinese Court order requests Matt Weldon to provide the documents
is that he previously certified the status of certain publicly filed documents in Exhibit F.

21. It is my understanding that SIMO’s counsel has translated that order. A copy of
the certified translation of the order is attached here as Exhibit G.

22. It is my understanding that K&L Gates informed uCloudlink’s United States lawyer
of the order from the Chinese Court regarding the uCloudlink confidential documents.

23. It is my understanding that uCloudlink’s United States counsel believes it was
improper for K&L Gates counsel to provide KWM with the uCloudlink confidential documents.

24, After discussing the issue with my colleagues and K&L Gates, we agreed that
KWM would destroy all copies of the uCloudlink confidential documents received from K&L

Gates.
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25. We are doing so in order to resolve any concerns that uCloudlink’s United States
lawyers may have that our possession of those documents was improper.

26. I confirm that I have not given or shown the uCloudlink confidential documents to
anyone with the exception of attorneys for K&L Gates.

27. [have not shown the uCloudlink confidential documents to the other three lawyers
in my firm who signed the protective order.

28. I confirm that I have not used any of the uCloudlink confidential documents in any
way that may result in the publication or disclosure of these documents. This includes providing
the documents to any Chinese Court, even in confidential proceedings. Attached hereto as Exhibit

H are several lists consisting of the evidence Skyroam has presented in the Chinese Lawsuit.

29. ‘I confirm that I have deleted the uCloudlink confidential documents from my
possession.
30. Chinese courts routinely adopt measures to protect parties’ confidential business

information. Moreover, there are protections in the Chinese civil procedure that preserve the
confidentiality of parties’ confidential business information.

31. In the ongoing Chinese trade secret case, we have requested the Chinese courts to
protect all confidential information from counterparties and the general public in order to preserve
the confidentiality of all parties’ confidential information. The Chinese court has already issued a
protective order that only the lawyers are allowed to review confidential evidences and should

keep evidences that include trade secret confidential.

I declare under penalty of perjury under the laws of the United States of America (28 U.S.C.

§ 1746) that the foregoing is true and correct.
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Executed on this day

in Shenzhen, China.

3 tp Wong vag ans

Wang Huaqiang

King & Wood Mallesons

28th Floor, China Resources Tower,
2666 Keyuan South Road,

Nanshan District, Shenzhen, China
Tel 86 755 82643565

Fax 86 755 22163380
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SIMO HOLDINGS INC.

Plaintiff,
CIVIL ACTION NO. 18CV5427 (JSR)

HONG KONG UCLOUDLINK NETWORK
TECHNOLOGY LIMITED, AND
UCLOUDLINK (AMERICA), LTD.

Defendants.

DECLARATION OF JUN LIU REGARDING CERTAIN DOCUMENTS

I, JUN LIU, declare that the following is true and correct:

Is I am a partner at King & Wood Mallesons, counsel for SIMO Holdings Ine.

(“SIMO”), SIMO’s Chinese subsidiaries, SIBO Technology Co., Ltd. (in Chinese: “1 JJl| ii HAH
OAK Wi BE A BR ZS F]”) (“SIBO”) and Shenzhen Skyroam Technology Co., Ltd. (in Chinese:
“TRI HLA BL G BR ZS ]””) (“Skyroam”) in the People’s Republic of China. I am familiar

with the facts and circumstances set out herein.

 

 

 
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2. I am registered to practice law in the People’s Republic of China and am licensed
to practice patent and trade secret law in the People’s Republic of China.

3. | understand that SIMO filed a patent infringement lawsuit against Hong Kong
uCloudlink Technology Limited and Ucloudlink (America) Ltd. (uCloudlink) in June 2018 (the
“New York Case’). I further understand that SIMO alleged that uCloudlink’s products, including
the G2, G3, and U2 hotspots infringed SIMO’s United States Patent Nos. 8,116,735, and
9,736,689.

4. In July 2018, Skyroam and SIBO filed a lawsuit in China against certain
uCloudlink entities in China for patent infringement of the Chinese version of the patents
asserted in the New York Case - specifically this is the Patent titled, CN 101971648 (the “648
Patent”). In that lawsuit, Skyroam and SIBO alleged that the same uCloudlink products
infringed Chinese patents owned by SIBO. Attached as Exhibit A is a true and correct copy of
the Chinese patent infringement lawsuit. My firm represented Skyroam and SIBO in that lawsuit.

5. In early November 2018, we learned that uCloudlink turned over certain Skyroam
confidential documents to SIMO’s attorneys in the New York Case I understand that upon

further investigation, it was discovered that those documents came from a computer that was

used by Skyroam’s former employee Wang Bin who left Skyroam for a uCloudlink entity in

2013.

6. I understand that uCloudlink turned over additional documents in the New York
litigation including a patent disclosure document that contain Skyroam’s trade secrets and
communications relating to that patent disclosure. I further understand that these documents

were marked “Confidential” by uCloudlink, even though they contain references to Skyroam’s

 

 

 

 

 

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confidential information that should not have been in uCloudlink’s possession. These documents
are referred to herein as the “uCloudlink confidential documents.”

7. Upon further investigation, it was also discovered that certain patents applied for

by uCloudlink entities include Wang Bin as the inventor, and several of these patents include

Skyroam’s trade secrets.

8. As part of the cooperation between the two international law firms of King &
Wood Mallesons and K&L Gates, we wanted to be able to analyze the available materials and
discuss the best approach to the strategies as they relate to our respective representation of SIMO
and its related entities. Specifically, we wanted to coordinate various aspects of the ongoing

patent infringement cases in China and the United States as well as the potential for trade secret

cases that may be filed in China and/or in the United States in connection with the information.

learned in the New York Case.

9. In order to better evaluate our options, discuss strategies, and ensure consistency
in our respective approaches, our firm received the protective order that was issued in the New
York case on November 9, 2018, and four attorneys from our firm signed and returned the
protective order several days later, so that we could receive some of the confidential documents

that were produced in the New York Case. I am one of those four attorneys. Attached hereto as

Exhibit B is a true and correct copy of the protective orders signed by myself and my colleagues.

10. I understand that by signing the Protective Order, I am forbidden from using the
documents in any way without explicit confirmation from uCloudlink that such documents do
not contain confidential information belonging to uCloudlink, an order from the Judge in the

New York Case, or in the event of a Court Order or Subpoena requiring me to turn over those

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documents. I also understand that any documents that have been filed publicly are no longer
confidential, even if they were marked confidential at one time.

11. After signing the protective order, I understand that K&L Gates provided my
Colleague Huaqiang Wang certain documents that were turned over by uCloudlink in the New
York case and were marked confidential by uCloudlink.

12. I understand that some of the documents received by Huaqiang Wang were later
confirmed by uCloudlink’s counsel not to contain uCloudlink’s confidential information. These
documents include Skyroam documents that were found on Wang Bin’s computer and turned
over to SIMO’s attorneys in the New York Case. Additionally, the Judge in the New York Case
ordered that some documents are not confidential, such as certain testimony given by Bin Wang.
I have viewed some of these documents, but not any uCloudlink confidential documents.

13. In June 2019, Skyroam filed a lawsuit against Shenzhen uCloudlink New

Technology Co., Ltd. (in Chinese: “V& JI] 7 i bt Hk or F&A TF be ZS] ”), Shenzhen uCloudlink

Network Technology Co., Ltd. (in Chinese: “VY JIl fi bd Z TK BLA AT BR ZS a] ”), Wang Bin (in

Chinese: -E x) and Gao Wen (in Chinese: i; XC) for trade secret misappropriation in Shenzhen

Intermediate Court, China (“the Chinese Lawsuit”). The Chinese Lawsuit concerns the same
technology (i.e., international mobile roaming) and same accused products (GlocalMe El, U2,
G2, G3 and S1) that I understand were at issue in the New York Litigation. KWM represented
Skyroam in this lawsuit as well. Attached hereto as Exhibit C is a true and accurate copy of the
Complaint in the Chinese Lawsuit.

14. Because of the rules surrounding the protective order, no uCloudlink confidential
documents were included or referenced in the filings for this Chinese Lawsuit. The information

used to file the lawsuit was based on publicly available information such as uCloudlink’s patents,

 

 

 

 

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and documents and information disclosed during the trial in the New York Case, and Skyroam’s
own confidential documents, including those that were found on uCloudlink’s computers and
which had been released by uCloudlink in the New York Case.

15. I understand that my Colleague Huaqiang Wang downloaded and _ received

publicly filed documents related to United States litigation between SIMO and Skyroam-related

entities. For example, on February 26, 2019, Huaqiang Wang received SIMO and Skyroam’s'

publicly filed Amended Answer and Counterclaims filed in February 2019 in the California case.
A true and correct copy of the Amended Complaint is attached here as Exhibit D.

16. I understand that SIMO requested that the New York Judge permit Skyroam to

use uCloudlink confidential documents in the Chinese trade secret case. I also understand that ~

the judge denied Skyroam’s request, but indicated that Skyroam would be permitted to receive
uCloudlink confidential documents for use if the Chinese Court issued an Order or subpoena for
the documents.

17. Based on the ruling by the New York judge, Skyroam recently requested that the
Chinese Court issue an order requiring that SIMO’s United States counsel provide certain
uCloudlink confidential documents that were turned over in the New York litigation. In that
request, we used only documents which (1) are publicly available from PACER, (2) contain
Skyroam-only confidential information, or (3) that the Court has declassified; or (4) that
uCloudlink has agreed do not contain uCloudlink confidential material. A true and correct copy
of the index of documents used in Skyroam’s request to the Chinese Court is attached here as

Exhibit E.

18. On November | 1th, 2020, Skyroam received an order from the Chinese Court

directing SIMO’s United States’ attorney, Matt Weldon to provide Zheng Hong (in Chinese: “4

 

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i,” ) and Ding Guangwei (in Chinese: “ } 34” ) certain uCloudlink confidential documents

that were turned over in the New York case and which were the subject of SIMO’s previous

request that was denied by the New York Judge. A copy of that order is attached here as Exhibit

F.

19. The reason the Chinese Court order requests Matt Weldon to provide the
documents is that he previously certified the status of certain publicly filed documents in Exhibit
F.

20. ‘It is my understanding that SIMO’s counsel has translated that order. A copy of
the certified translation of the order is attached here as Exhibit G.

21. ‘It is my understanding that K&L Gates informed uCloudlink’s United States
lawyer of the order from the Chinese Court regarding the uCloudlink confidential documents.

22. It is my understanding that uCloudlink’s United States counsel believes it was

improper for K&L Gates counsel to provide KWM with the uCloudlink confidential documents.

23. After discussing the issue with my colleagues and K&L Gates, we agreed that ©

KWM would destroy all copies of the uCloudlink confidential documents received from K&L

Gates.

24. We are doing so in order to resolve any concerns that uCloudlink’s United States
lawyers may have that our possession of those documents was improper.

23, I confirm that I have not received or seen the uCloudlink confidential documents.

26. Chinese courts routinely adopt measures to protect parties’ confidential business
information. Moreover, there are protections in the Chinese civil procedure that preserve the

confidentiality of parties’ confidential business information.

 

 

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27, In the ongoing Chinese trade secret case, we have requested the Chinese courts to
protect all confidential information from counterparties and the general public in order to
preserve the confidentiality of all parties’ confidential information. The Chinese court has
already issued a protective order that only the lawyers are allowed to review confidential

evidences and should keep evidences that include trade secret confidential.

I declare under penalty of perjury under the laws of the United States of America (28

 

U.S.C. § 1746) that the foregoing is true and correct.

Jor - I-24
Executed on this day in Shenzhen, China.

Za f_Lu Jun ;
0 :
Liu Jun

King & Wood Mallesons

28th Floor, China Resources Tower,
2666 Keyuan South Road,

Nanshan District, Shenzhen, China
Tel 86 755 22163317

Fax 86 755 22163380

liujunl @cn.kwm.com

 

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Case 1:18-cv-05427-JSR Document 321 Filed 12/01/20 Page 16 of 29

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SIMO HOLDINGS INC.

Plaintiff,
CIVIL ACTION NO. 18CV5427 (JSR)

HONG KONG UCLOUDLINK NETWORK
TECHNOLOGY LIMITED, AND
UCLOUDLINK (AMERICA), LTD.

Defendants.

DECLARATION OF MINGFEI SUN REGARDING CERTAIN DOCUMENTS

I, MINGFEI SUN, declare that the following is true and correct:
1, I am a partner at King & Wood Mallesons, counsel for SIMO Holdings Inc.

(“SIMO”), SIMO’s Chinese subsidiaries, SIBO Technology Co., Ltd. (in Chinese: “V4Il TH Ate
BUR STELLA BE ZA F]”) (“SIBO”) and Shenzhen Skyroam Technology Co., Ltd. (in Chinese: “%
YT BELA BZ By”) (“Skyroam”) in the People’s Republic of China. I am familiar with

the facts and circumstances set out herein.
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2. I am registered to practice law in the People’s Republic of China and am licensed
to practice patent and trade secret law in the People’s Republic of China.

3. I understand that SIMO filed a patent infringement lawsuit against Hong Kong
uCloudlink Technology Limited and Ucloudlink (America) Ltd. (uCloudlink) in June 2018 (the
“New York Case”). I further understand that SIMO alleged that uCloudlink’s products, including
the G2, G3, and U2 hotspots infringed SIMO’s United States Patent Nos. 8,116,735, and 9,736,689.

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York Case - specifically this is the Patent titled, CN 101971648 (the “’648 Patent”). In that lawsuit,
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our respective approaches, our firm received the protective order that was issued in the New York
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Chinese: =E%K) and Gao Wen (in Chinese: j=j3¢) for trade secret misappropriation in Shenzhen

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and documents and information disclosed during the trial in the New York Case, and Skyroam’s
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uCloudlink confidential documents for use if the Chinese Court issued an Order or subpoena for
the documents.

17. Based on the ruling by the New York judge, Skyroam recently requested that the
Chinese Court issue an order requiring that SIMO’s United States counsel provide certain
uCloudlink confidential documents that were turned over in the New York litigation. In that
request, we used only documents which (1) are publicly available from PACER, (2) contain
Skyroam-only confidential information, or (3) that the Court has declassified; or (4) that
uCloudlink has agreed do not contain uCloudlink confidential material. A true and correct copy
of the index of documents used in Skyroam’s request to the Chinese Court is attached here as
Exhibit E.

18. On November 11th, 2020, Skyroam received an order from the Chinese Court

directing SIMO’s United States’ attorney, Matt Weldon to provide Zheng Hong (in Chinese: “8

4” ) and Ding Guangwei (in Chinese: “ J 36” ) certain uCloudlink confidential documents that
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were turned over in the New York case and which were the subject of SIMO’s previous request
that was denied by the New York Judge. A copy of that order is attached here as Exhibit F.

19. | The reason the Chinese Court order requests Matt Weldon to provide the documents
is that he previously certified the status of certain publicly filed documents in Exhibit F.

20. It is my understanding that SIMO’s counsel has translated that order. A copy of
the certified translation of the order is attached here as Exhibit G.

21. ‘It is my understanding that K&L Gates informed uCloudlink’s United States lawyer
of the order from the Chinese Court regarding the uCloudlink confidential documents.

22. ‘It is my understanding that uCloudlink’s United States counsel believes it was
improper for K&L Gates counsel to provide KWM with the uCloudlink confidential documents.

23. After discussing the issue with my colleagues and K&L Gates, we agreed that
KWM would destroy all copies of the uCloudlink confidential documents received from K&L
Gates.

24. | We are doing so in order to resolve any concerns that uCloudlink’s United States
lawyers may have that our possession of those documents was improper.

25. I confirm that I have not received or seen the uCloudlink confidential documents.

26. Chinese courts routinely adopt measures to protect parties’ confidential business
information. Moreover, there are protections in the Chinese civil procedure that preserve the
confidentiality of parties’ confidential business information.

27. In the ongoing Chinese trade secret case, we have requested the Chinese courts to
protect all confidential information from counterparties and the general public in order to preserve

the confidentiality of all parties’ confidential information. The Chinese court has already issued a
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protective order that only the lawyers are allowed to review confidential evidences and should

keep evidences that include trade secret confidential.

I declare under penalty of perjury under the laws of the United States of America (28 U.S.C.

§ 1746) that the foregoing is true and correct.

Executed on this day22¢.1! Tif Shenshen China.
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Sun Mingfei

King & Wood Mallesons

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Case 1:18-cv-05427-JSR Document 321 Filed 12/01/20 Page 23 of 29

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SIMO HOLDINGS INC.

Plaintiff,
CIVIL ACTION NO. 18CV5427 (JSR)

HONG KONG UCLOUDLINK NETWORK
TECHNOLOGY LIMITED, AND
UCLOUDLINK (AMERICA), LTD.

Defendants.

DECLARATION OF HONG ZHENG REGARDING CERTAIN DOCUMENTS

I, HONG ZHENG, declare that the following is true and correct:
il. I am a partner at King & Wood Mallesons, counsel for SIMO Holdings Inc.

(“SIMO”), SIMO’s Chinese subsidiaries, SIBO Technology Co., Ltd. (in Chinese: “Ili Ete
BUR TBH BR ZS F]”) (“SIBO”) and Shenzhen Skyroam Technology Co., Ltd. (in Chinese: “i

DI TSAR AL A I ZS ]”) (“Skyroam”) in the People’s Republic of China. I am familiar with

the facts and circumstances set out herein.
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2: I am registered to practice law in the People’s Republic of China and am licensed
to practice patent and trade secret law in the People’s Republic of China.

3. I understand that SIMO filed a patent infringement lawsuit against Hong Kong
uCloudlink Technology Limited and Ucloudlink (America) Ltd. (uCloudlink) in June 2018 (the
“New York Case’). I further understand that SIMO alleged that uCloudlink’s products, including
the G2, G3, and U2 hotspots infringed SIMO’s United States Patent Nos. 8,116,735, and 9,736,689.

4, In July 2018, Skyroam and SIBO filed a lawsuit in China against certain uCloudlink
entities in China for patent infringement of the Chinese version of the patents asserted in the New
York Case - specifically this is the Patent titled, CN 101971648 (the “’648 Patent”). In that lawsuit,
Skyroam and SIBO alleged that the same uCloudlink products infringed Chinese patents owned
by SIBO. Attached as Exhibit A is a true and correct copy of the Chinese patent infringement
lawsuit. My firm represented Skyroam and SIBO in that lawsuit.

5. In early November 2018, we learned that uCloudlink turned over certain Skyroam
confidential documents to SIMO’s attorneys in the New York Case _I understand that upon further
investigation, it was discovered that those documents came from a computer that was used by
Skyroam’s former employee Wang Bin who left Skyroam for a uCloudlink entity in 2013.

6. I understand that uCloudlink turned over additional documents in the New York
litigation including a patent disclosure document that contain Skyroam’s trade secrets and
communications relating to that patent disclosure. I further understand that these documents were
marked “Confidential” by uCloudlink, even though they contain references to Skyroam’s
confidential information that should not have been in uCloudlink’s possession. These documents

are referred to herein as the “uCloudlink confidential documents.”
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7. Upon further investigation, it was also discovered that certain patents applied for
by uCloudlink entities include Wang Bin as the inventor, and several of these patents include
Skyroam’s trade secrets.

8. As part of the cooperation between the two international law firms of King & Wood
Mallesons and K&L Gates, we wanted to be able to analyze the available materials and discuss
the best approach to the strategies as they relate to our respective representation of SIMO and its
related entities. Specifically, we wanted to coordinate various aspects of the ongoing patent
infringement cases in China and the United States as well as the potential for trade secret cases
that may be filed in China and/or in the United States in connection with the information learned
in the New York Case.

9. In order to better evaluate our options, discuss strategies, and ensure consistency in
our respective approaches, our firm received the protective order that was issued in the New York
case on November 9, 2018, and four attorneys from our firm signed and returned the protective
order several days later, so that we could receive some of the confidential documents that were
produced in the New York Case. I am one of those four attorneys. Attached hereto as Exhibit B
is a true and correct copy of the protective orders signed by myself and my colleagues.

10. I understand that by signing the Protective Order, I am forbidden from using the
documents in any way without explicit confirmation from uCloudlink that such documents do not
contain confidential information belonging to uCloudlink, an order from the Judge in the New
York Case, or in the event of a Court Order or Subpoena requiring me to turn over those documents.
I also understand that any documents that have been filed publicly are no longer confidential, even

if they were marked confidential at one time.
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11. After signing the protective order, I understand that K&L Gates provided my
Colleague Huagiang Wang certain documents that were turned over by uCloudlink in the New
York case and were marked confidential by uCloudlink.

12. I understand that some of the documents received by Huaqiang Wang were later
confirmed by uCloudlink’s counsel not to contain uCloudlink’s confidential information. These
documents include Skyroam documents that were found on Wang Bin’s computer and turned over
to SIMO’s attorneys in the New York Case. Additionally, the Judge in the New York Case ordered
that some documents are not confidential, such as certain testimony given by Bin Wang. I have
viewed some of these documents, but not any uCloudlink confidential documents.

13. In June 2019, Skyroam filed a lawsuit against Shenzhen uCloudlink New

Technology Co., Ltd. (in Chinese: “PRI TH Hi ro eA FZ be ZF] ”), Shenzhen uCloudlink
Network Technology Co., Ltd. (in Chinese: “ZRII Ri 5t RAL EY A Be 2 ]”), Wang Bin (in
Chinese: EX) and Gao Wen (in Chinese: 1) 3C) for trade secret misappropriation in Shenzhen

Intermediate Court, China (“the Chinese Lawsuit”). The Chinese Lawsuit concerns the same
technology (i.e., international mobile roaming) and same accused products (GlocalMe E1, U2, G2,
G3 and S1) that I understand were at issue in the New York Litigation. KWM represented Skyroam
in this lawsuit as well. Attached hereto as Exhibit C is a true and accurate copy of the Complaint
in the Chinese Lawsuit.

14. Because of the rules surrounding the protective order, no uCloudlink confidential
documents were included or referenced in the filings for this Chinese Lawsuit. The information
used to file the lawsuit was based on publicly available information such as uCloudlink’s patents,

and documents and information disclosed during the trial in the New York Case, and Skyroam’s
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own confidential documents, including those that were found on uCloudlink’s computers and
which had been released by uCloudlink in the New York Case.

15. T understand that my Colleague Huaqiang Wang downloaded and received publicly
filed documents related to United States litigation between SIMO and Skyroam-related entities.
For example, on February 26, 2019, Huaqiang Wang received SIMO and Skyroam’s publicly filed
Amended Answer and Counterclaims filed in February 2019 in the California case. A true and
correct copy of the Amended Complaint is attached here as Exhibit D.

16. T understand that SIMO requested that the New York Judge permit Skyroam to use
uCloudlink confidential documents in the Chinese trade secret case. I also understand that the
judge denied Skyroam’s request, but indicated that Skyroam would be permitted to receive
uCloudlink confidential documents for use if the Chinese Court issued an Order or subpoena for
the documents.

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Chinese Court issue an order requiring that SIMO’s United States counsel provide certain
uCloudlink confidential documents that were turned over in the New York litigation. In that
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Case 1:18-cv-05427-JSR Document 321 Filed 12/01/20 Page 28 of 29

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Case 1:18-cv-05427-JSR Document 321 Filed 12/01/20 Page 29 of 29

protective order that only the lawyers are allowed to review confidential evidences and should

keep evidences that include trade secret confidential.

I declare under penalty of perjury under the laws of the United States of America (28 U.S.C.
§ 1746) that the foregoing is true and correct.

Executed on this day 2720 <i Pe Shenzhen, China. ‘
‘
2 We Zhen Hon
' J

Zheng Hong

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